          Case 2:22-cv-07303-TJH-KS Document 43 Filed 05/12/23 Page 1 of 3 Page ID #:443

                                                                                           ~' ~~~~


  1        Your name:           Gerardo Valdivia                                  n ay
                                                                                 ~ti~J I-Ir~~! ~ ~     I ~ ~~• ~J
  2 Address:            9347 Slauson Av
  3 Pico Rivera, ca 90660                                                        ~' -     ~ '- ~       ~i~' ~ "~~JI~~~ ;
 4 Phone Number: 5622005748_                                                                        ~1l'.~
                                                                                                   ~C'YL~J
 5                                                                                                 l
 6

 7                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF CALIFORNIA
 8
                                                           Case Number: 2:22-CV-07303-TJI~- r~~C
 9
    INNOVATIVE SPORTS                                      DECLARATION OF[name)
10 MANAGEMENT,INC., d/b/a
                                                                          Gerardo Valdivia
1 1 INTEGRATED SPORTS MEDIA,
                                                           IN SUPPORT OF          Motion to Compel
12         Plaintiff,

13 vs.
14'
   GERA.RDO VALDIVIA,individually :and
15 d/b/a TONDERO PERUVIAN :CUISINE,
   Defendant.
16

17
18

19

20
21                I,[name)     Gerardo Valdivia

22                      declare as follows:

23 [In thefirst paragraph, explain who you are and how you are connected to the party or events
   relevant to the lawsuft. Ifyou are the Plaintiffor Defendant, say so here. Ifyou are a witness,
24 say how you are involved.)

25                1.    I am   Defendant
26
27               2.     I have personal knowledge of all facts stated in this declaration, and if called
28 testify, I could and would testify competently
      I                                           thereto.



          DECLARATION OF GERADO VALDIVIAIN SUPPORT OF MOTON TO COMPEL
          CASE NO 2:22-CV-07303-TJH-PLA PAGE              OF      [JDC TEMPLATE Rev.201S]
     Case 2:22-cv-07303-TJH-KS Document 43 Filed 05/12/23 Page 2 of 3 Page ID #:444




            3.Plaintiff has never res onded to our re uest for roduction of documents and all hi
 1
                                                                            called him to meet an
 2 answers to our s ecial interro atones are evasive I sent him letters and
 3 confer however he never showed u to the confer

4
     4.     I am attachin the letters sent to laintiff and icture when I was awaitin at his hous
 5
                                even I knocked his door for several minutes. I am attachin als
6 where he never has showed u
                                                                         — on the contra he ha
7 the documents I roduced to Plaintiff which are im octant documentation
 8 produce zero documentation.
9
       Attached Plaintiffinadequate and incompliance responses to discover Exhibit A
10 Attached as Exhibit A is a copy ofa letter that Isent on via process service Exhibit B
       Attached is the photo I took when waiting at Plaintiffhouse Exhibit C
1 1 Attached Plaintif,j`~ is our responses to his discover including documents produced from us t
       PlaintiffExhibit D
12 '~,
13
            I declare under penalty of perjury under the laws ofthe United States that the foregoing i
l4

15   true and correct and that this declaration was executed on 5/10/2023

16
17                                        Signature:

18                                        Printed na          rdo Valdivia

19          Address: 9347 Slauson Av

20          Pico Rivera, ca 90660
21
            Phone Number: 5622005748
?2
23
24

25

26
27
?g




      DECLARATION OF GERADO VALDIVIAIN SUPPORT OF MOTON TO COMPEL
       ASE NO 2:22-CV-07303-TJH-PLA PAGE OF _ [1DC TEMPLATE Rev.2o15]
       Case 2:22-cv-07303-TJH-KS Document 43 Filed 05/12/23 Page 3 of 3 Page ID #:445




  1

 2

 3

 4

 5

 6
                                                           PROOF OF SERVICE
 7           I am over the age of 18 and not a party to this action. I am a resident of or employed in
             the county where the mailing occurred;
 8
             On _5/10/2023 I served the foregoing documents)described as:
 9
             DECLARATION OF Gerardo Valdivia IN SUPPORT OF Motion to Compel
10

11                                                            to the following parties:

12           Thomas P. Riley Law Offices of Thomas P. Riley, P.C. First Library Square 1114 Fremc
             Avenue South Pasadena, CA 91030-3227[X](By U.S. Mail) I deposited such envelope
13           the mail at Los Angeles,California tyith postage thereon fully prepaid. I am readily famil:
             with the regular and customary business practice of this office in which mail is dt
14           deposited inthe United States Mail at ,California on the date that it is mailed.

15           Under the practice it would be deposited with the U.S. Postal Service on that same day
             with postage thereon fully prepaid at Los Angeles, California in the ordinary course of
16           business. I am aware that on motion of the party served, service is presumed invalid ii
             postal cancellation date or postage meter date is more than one day after date of deposit fog
17           mailing in affidavit.
18           I declare under penalty of perjury under the laws ofthe State of California that the
             foregoing is true and correct.
19
             DATED: 5/10/2023
20

21           Art Cervera
             Reg 20200027
22

23 I

24

25

26

27

28




       DECLARATION OF GERADO VALDIVIAIN SUPPORT OF MOTON TO COMPEL
       CASE NO 2:22-CV-07303-TJH-PLA PAGE               OF      [✓DC TEMPLATE Rev.201S]
